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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA

                                                 )
IN RE: ALL CRIMINAL MATTERS                      )               STANDING ORDER
ASSIGNED TO JUDGE TIMOTHY M.                     )
CAIN                                             )
                                                 )

        In addition to the Federal Rules of Criminal Procedure and this District’s Local Criminal

Rules, the following rules apply to all criminal matters before the undersigned:

        1. Court Appearance. All attorneys must be present thirty minutes prior to all court

appearances. Defense counsel is responsible for assuring that defendants and material witnesses

are properly dressed for court appearances. Likewise, the U.S. Attorney’s Office is responsible

for the proper dress of the government’s material witnesses.

        2. Voir Dire.1 At least seven (7) calendar days prior to jury selection, all voir dire

requests must be emailed to chambers at cain_ecf@scd.uscourts.gov. See Local Criminal Rule

26.04(A) DSC. The request forms may be found at www.scd.uscourts.gov. Prior to submitting

any voir dire requests, the parties must confer and determine if they can agree on these requests.

If so, the agreed upon requests must be submitted as joint submissions. The parties must also

submit a list of witnesses and, if relevant, their addresses and occupations. If you intend to seek

special voir dire, you must certify that the questions you wish to ask are not duplicative of those

asked in the juror questionnaire.2

1
 The court will ask potential jurors during jury selection if they know or have any connection with
any of the attorneys, parties, or witnesses listed by either party in their pretrial briefs. The court will
also summarize the allegations and ask if any potential juror is familiar with the dispute or has any
preconceived views that may impair his or her ability to be impartial.

2
 This district requires potential jurors to complete an extensive Juror Questionnaire. A sample
questionnaire is available on the district’s website (www.scd.uscourts.gov). The questionnaire is
intended to provide more thorough information to counsel than would otherwise be available and
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        3. Requests to Strike Jurors for Cause. Joint Strikes for Cause must be filed with the

court no later than two days prior to jury selection. In trials involving more than one defendant,

the defense must select one spokesperson for the purpose of jury selection. Pursuant to Fed. R.

Crim. P. 24(b)(2), the defendant or defendants jointly have ten (10) peremptory challenges in

non-capital felony cases.

        4. Jury Instructions. Parties must file their proposed jury instructions with the court at

least seven (7) calendar days before trial. See Local Criminal Rule 26.04 DSC. Do not submit

repetitive requests for the same legal concept in your proposed jury instructions. Additionally,

each requested instruction should contain a citation of authority with references to specific

sections or pages. If unreported decisions are relied upon for support, copies of these decisions

must be attached to the jury charge request. Objections to proposed jury instructions must be

filed with the court at least (4) calendar days prior to trial

        5. Meet, Mark, and Exchange Exhibits. No later than seven (7) calendar days before

the trial date, the attorneys for each side must meet for the purpose of agreeing and marking all

exhibits to be used at trial, and, where possible, agree on the admissibility of trial exhibits. In

the event there is an objection to any exhibit, the opposing party must file objections with the

Court at least four (4) days prior to trial. After the exhibit list is prepared, the parties are not to

re-number the exhibits. If items are deleted, the exhibits should be struck through and marked as

withdrawn. The Government may wait until the day of the trial to mark fungible evidentiary

items such as drugs, money, etc._________________________
__________________________
to minimize the time necessary to conduct voir dire. Copies of completed questionnaires will be
available for review in the Clerk of Court’s Office seven calendar (7) days before jury selection.
Copies of the questionnaires may be purchased from Aim Mail (864-242-2900). To protect the
privacy of jurors, prior approval must be obtained by submitting a Jury Questionnaire Request
Form to the Clerk’s Office by fax (864-241-2711), e-mail, or mail (300 East Washington Street,
Room 239, Greenville, SC 29601).
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        6. Proposed Orders. Do not file proposed orders in CM/ECF and do not submit

proposed orders as a result of oral argument unless requested to do so. In the event a proposed

order is requested, or otherwise appropriate, counsel should e-mail a copy of the proposed order

and the related motion to cain_ecf@scd.uscourts.gov in Microsoft Word or WordPerfect format

(double-spaced), and the e-mail should be copied to opposing counsel. The e-mail subject line

should include the case number and the short form of the case name. The e-mail should indicate

if the order was requested or if it relates to a corresponding motion.

        7. Plea Agreements and Element Sheets. Plea Agreements and Element Sheets must

be filed with the Court no later than twenty-four hours prior to a plea hearing.

        8. Electronic Courtroom System. Counsel are required to use the electronic courtroom

presentation system during trial. If counsel has not undergone electronic courtroom training,

contact Pam Brissey in the Clerk of Court’s Office (864-241-2708) regarding use of the

electronic system. However, note that training will not be conducted the day prior to trial or

during trial.

        IT IS SO ORDERED.



                                                      s/Timothy M. Cain
                                                      United States District Judge
